Case 1:21-cv-00400-APM Documenté6 Filed 03/03/21 Page 1 of 3
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

Hon. Bennie G. Thompson, in his personal capacity

Plaintiff
Case No.: 1:21-cv-00400-APM

VS.

Donald J. Trump, solely in his personal capacity, et al.

Defendant(s)
AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

I, Rebecca E. Short, a Private Process Server, being duly sworn, depose and say, I have been duly authorized to make service of
the documents listed herein in the above entitled case, I am over the age of eighteen years and am not a party to or otherwise
interested in this matter.

DOCUMENT(S): Summons and Complaint

SERVE TO: Donald J. Trump, solely in his personal capacity

SERVICE ADDRESS: Mar-A-Lago, 1100 South Ocean Boulevard, Palm Beach, Florida 33480-5004

METHOD OF SERVICE: By mailing the documents listed herein to Donald J. Trump, solely in his personal capacity at Mar-A-
Lago, 1100 South Ocean Boulevard, Palm Beach, Florida 33480-5004 on 02/17/2021 via United States Postal Service, Certified
Mail, Return Receipt Requested. Article Number: 7019 1120 0001 3834 2499. Service was signed for on 02/23/2021, return

receipt attached.

I declare under penalty of perjury that this information is true.

 

BL | W4 :
Rebecca E. Short

 

 

Executed On
Client Ref Number:65390-001

Job #: 1586529

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
 

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"Complete items 1, 2, and 3.
™ Print your name and address on the reverse

   

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Signature
X

SENDER: COMPLETE THIS SECTION wd COMPLETE THIS SECTION ON DELIVERY

Dp EZ

      

  

iF Agent

 

 

  

 

 

so that we can return the card to you. : E) Addressee
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or on the front if space permits. yr ehAy 1a/ asfaf
7. Article Addressed to: | D. ts delivery address Aifferent from, item 17 Lifes ©

‘Donald J. Trump, solely in his personal capac

 

 

Mar-A-tagor110 South Ocean Boulevard

Palm Beach, FL 33480-5004

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9590 9402 6273 0274 6477 83

2. Article Number (Transfer from service label)

7019 1120 0001 3834 e444
_ PS Form 3811, July 2020 PSN 7830-02-000-9053

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EY No

 

 

 

 

3, ‘Service Type
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(over $500)

 

1 Adult Signature Restricted Delivery
Certified Mall Fastricted Delivery.
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Delivery a
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Restricted Delivery”

Domestic Return Receipt :
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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

Hon. Bennie G. Thompson

Plaintiffs)
Vv.

 

Civil Action No, 21-cv-00400-APM

Donald J. Trump, Rudolph W. Giuliani, Proud Boys
Int'l, L.L.C., and Oath Keepers

Defendant(s)

 

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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Donald J. Trump
Mar-a-Lago Club
1100 S. Ocean Blvd.
Palm Beach, FL 33480-5004

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. [2 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Joseph M. Sellers

Brian C. Corman

Cohen Milstein Sellers & Toll PLLC
1100 New York Avenue NW Suite 500
Washington DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 2/16/2021 /s/ Anson Hopkins

 

Signature of Clerk or Deputy Clerk

 
